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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
Richmond Division

RICHARD CLARK, et al., on behalf of themselves :
and all individuals similarly situated,

Plaintiffs,
v. : Civil Action No. 3:21-cv-00242-HEH
DONALD DUNCAN, et ai., :
Defendants.
ORDER
The Court, having considered the status report filed by Plaintiffs Richard Clark and
Clairmont Morrison, ORDERS that Plaintiffs shall submit Stipulation of Dismissal or Dismissal

Order for entry by the Court on or before May 27, 2022.

It is so ORDERED.

Ne Is!

The Honorable Henry E. Hudson
Senior United States District Court Judge

Richmond, Virginia
Date: April 28 , 2022
